         Case 1:21-cr-00158-RC Document 62 Filed 03/21/22 Page 1 of 12




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                                             :
              V.                             :     CRIMINAL NUMBER 21-158 (RC)
                                             :
                                             :
KYLE FITZSIMONS                              :


                                          ORDER

       AND NOW, this                day of                       , 2022, upon consideration of

the government’s Motion in limine to Admit Evidence as intrinsic or under Federal Rules of

Evidence 404(b), and defendant Kyle Fitzsimons’s response thereto, it is hereby ORDERED

that the government’s motion is DENIED.


                                             BY THE COURT:



                                             _______________________________________
                                             HONORABLE RUDOLPH CONTRERAS
                                             United States District Court Judge
          Case 1:21-cr-00158-RC Document 62 Filed 03/21/22 Page 2 of 12




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                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
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               V.                             :       CRIMINAL NUMBER 21-158 (RC)
                                              :
                                              :
KYLE FITZSIMONS                               :


                          DEFENDANT’S RESPONSE
            TO THE GOVERNMENT’S MOTION IN LIMINE TO ADMIT
     EVIDENCE AS INTRINSIC OR UNDER FEDERAL RULES OF EVIDENCE 404(b)

        The government has filed a Motion in limine seeking to admit a vast array of evidence as

intrinsic, or in the alternative, pursuant to Federal Rules of Evidence 404(b). The evidence

includes several calls to Congressional offices as well as a December 24, 2020 Facebook post.

The government contends this evidence directly proves a fact at issue and also establishes intent,

knowledge, and lack of mistake. However, the government’s argument that the evidence is

intrinsic is contrary to D.C. Circuit law. Further, the evidence is irrelevant to Mr. Fitzsimons’s

intent on January 6, 2021, and the danger of unfair prejudice to Mr. Fitzsimons in this highly

politicized and emotionally charged trial far outweighs any probative value. The government’s

Motion must therefore be denied in its entirety.

I.      BACKGROUND

        Kyle Fitzsimons was arrested in Maine on February 4, 2021, after an arrest warrant was

issued in Washington, D.C., for his conduct at the Capitol on January 6, 2021. According to

security footage from the Capitol, Mr. Fitzsimons can be seen pushing and grabbing against

officers who were holding a police line in an arched entranceway on the lower west terrace of the

Capitol Building. As a result of this conduct, Mr. Fitzsimons is accused in a ten-count indictment
          Case 1:21-cr-00158-RC Document 62 Filed 03/21/22 Page 3 of 12




with 18 U.S.C. § 231(a)(3) (civil disorder) (Counts One and Two); 18 U.S.C. §§ 1512(c)(2), 2

(obstruction of an official proceeding) (Count Three); 18 U.S.C. § 111(a)(1) and (b) (assaulting,

resisting, or impeding certain officers and inflicting bodily injury) (Counts Four and Five); 18

U.S.C. §§ 1752(a)(1), (2) and (4) (entering and remaining in a restricted building or grounds,

disorderly and disruptive conduct in a restricted building or grounds, and engaging in physical

violence in a restricted building or grounds) (Counts Six, Seven and Eight); and 40 U.S.C. §§

5104(e)(2)(D) and (F) (disorderly and disruptive conduct and act of physical violence in the

capitol grounds of buildings) (Counts Nine and Ten). See ECF No. 5.

II.    DISCUSSION

       In this Circuit, evidence is considered “intrinsic” when it is either “part of the charged

offense” or an uncharged act “performed contemporaneously with the charged crime ... [that]

facilitate[s] the commission of the charged crime.” United States v. Bowie, 232 F.3d 923, 928

(D.C. Cir. 2000); see id. at 28–29 (rejecting the approach of other Circuits that define intrinsic

evidence to encompass any evidence that “explains the circumstances” or “completes the story”

as an impermissibly low threshold that would allow for Rule 404(b) to be circumvented on a

“flimsy basis.”). Accordingly, any evidence of the crimes charged in Mr. Fitzsimons's

superseding indictment or evidence of other acts that occurred contemporaneously and to further

the charged offenses can be considered intrinsic and is exempt from the Rule 404(b) analysis.

See id. at 927 (“Evidence that constitutes the very crime being prosecuted is not [prior bad act

evidence].”); see, e.g., United States v. Alexander, 331 F.3d 116, 126 (D.C. Cir. 2003) (statement

that Defendant “ ‘[has] a gun on him now’ constituted intrinsic, admissible evidence on [a] felon-

in-possession charge” (alteration in original)); United States v. Coughlin, 821 F. Supp. 2d 35, 45

(D.D.C. 2011) (determining that evidence of the defendant's medical and athletic activities



                                                  2
          Case 1:21-cr-00158-RC Document 62 Filed 03/21/22 Page 4 of 12




constituted intrinsic evidence of the charged offense of making a fraudulent claim to the

September 11th Victim Compensation Fund). However, intrinsic evidence remains subject to a

Rule 403 balancing analysis which requires evidence be excluded if its probative value “is

substantially outweighed by the danger of unfair prejudice, confusion of the issues, or misleading

the jury, or by . . . needless presentation of cumulative evidence.” United States v. Long, 328

F.3d 655, 662 (D.C. Cir. 2003); Fed. R. Evid. 403.

        Federal Rule of Evidence 404(b) applies to extrinsic evidence of other crimes or bad acts.

“Convictions are supposed to rest on evidence relevant to the crime charged, not on evidence of

other, unrelated bad acts suggesting nothing more than a tendency or propensity to engage in

criminality.” United States v. Sheffield, 832 F.3d 296, 307 (D.C. Cir. 2016) (quoting United

States v. McGill, 815 F.3d 846, 878 (D.C. Cir. 2016)). Thus, Rule 404(b) precludes the

admission of evidence of other crimes, wrongs, or acts “to prove the character of a person in

order to show action in conformity therewith.” The rule against introducing character evidence,

also known as “propensity evidence,” is not based on the idea that the evidence of a defendant’s

character is irrelevant. On the contrary, it is based “on a fear that juries will tend to give it

excessive weight, and on a fundamental sense that no one should be convicted of a crime based

on his or her previous misdeeds.” United States v. Daniels, 770 F.2d 1111, 1116 (D.C. Cir.

1985); see also Michelson v. United States, 335 U.S. 469, 475-76 (1948) (finding that prior bad

acts evidence offered to show propensity “is said to weigh too much with the jury and to so

overpersuade them as to prejudice one with a bad general record and deny him a fair opportunity

to defend against a particular charge”).

        A two-step test governs admissibility of evidence in connection with Rule 404(b) in the

D.C. Circuit. United States v. Miller, 895 F.2d 1431, 1435 (D.C. Cir. 1989), cert. denied, 498



                                                    3
            Case 1:21-cr-00158-RC Document 62 Filed 03/21/22 Page 5 of 12




U.S. 825 (1990). First, the Court must determine whether the evidence is “probative of some

material issue other than character.” United States v. Clark, 24 F.3d 257, 264 (D.C. Cir. 1994).

Second, if the Court finds the evidence relevant to a non-character issue, it still will be excluded

if it is inadmissible under any other “general strictures limiting admissibility.” Miller, 895 F.2d

at 1435. Most important among these strictures is Rule 403. United States v. Washington, 969

F.2d 1073, 1081 (D.C. Cir. 1992). Under Rule 403, prior crimes evidence will be excluded if its

probative value “is substantially outweighed by the danger of unfair prejudice, confusion of the

issues, or misleading the jury, or by . . . needless presentation of cumulative evidence.” Long,

328 F.3d at 662; Fed. R. Evid. 403. The government fails both steps of the test in this case.

       A.       The Government’s Evidence Is Not Intrinsic

       As detailed in the government’s motion in limine, the government has moved for

admission of four calls allegedly made by Mr. Fitzsimons in December of 2020 as intrinsic

evidence. This Circuit has a heightened standard for considering evidence as intrinsic. See

Bowie, 232 F.3d at 928–29. Uncharged acts are only intrinsic if they are “part of the charged

offense” or “performed contemporaneously with the charged crime […] if they facilitate the

commission of the charged crime.” Id. at 928.

       Here, the government’s evidence fails to meet the standard articulated in Bowie. The calls

made by Mr. Fitzsimons are not part of the charged offense, were not performed

contemporaneously with the charged crime, and did not facilitate the charged crime. The phone

calls merely provide background information and “explain the circumstances” for why Mr.

Fitzsimons might have attended the January 6 rally. Evidence that “explains the circumstances”

or “completes the story” does not meet the D.C. Circuit’s standard for admitting intrinsic

evidence. Id.



                                                  4
            Case 1:21-cr-00158-RC Document 62 Filed 03/21/22 Page 6 of 12




       Significantly, admitting evidence that merely “completes the story” would allow the

government to unjustifiably bypass Rule 404(b). “We see no reason to relieve the government

and the district court from the obligation of selecting from the myriad of non-propensity

purposes available to complete most any story.” Id. at 929. The government is attempting to do

exactly what this Circuit attempts to avoid—circumvent the strictures of 404(b). For these

reasons, the December 2020 phone calls are not intrinsic, and as explained infra, the

government’s evidence cannot meet the requirements of 404(b).

       B.      The Government’s Evidence is Not Probative of a Material Issue Pursuant to
               Federal Rule of Evidence 404(b)

       In the alternative, the government seeks to introduce the four December 2020 phone calls

pursuant to Federal Rule of Evidence 404(b). Also pursuant to Rule 404(b), the government

seeks to introduce a December 19, 2019 phone call to a congresswoman discussing President

Trump’s impeachment trial and a March 19, 2020 phone call during which Mr. Fitzsimons seeks

the phone number for Chinese President Xi Jinping. Finally, the government attempts to

introduce a December 24, 2020 Facebook post in the Lebanon Maine Truth Seekers page from

an unknown person sharing an alleged conversation with Mr. Fitzsimons.

       As to the first factor in determining admissibility under Rule 404(b), the Court must

determine whether the evidence is “probative of some material issue other than character.”

United States v. Clark, 24 F.3d 257, 264 (D.C. Cir. 1994). The proponent is required to “identify

a specific purpose that ‘is of consequence in determining the action.’” Id. (quoting FED. R. EVID.

401(b)).

       The government offers evidence of Mr. Fitzsimons’s phone calls and Facebook post as

evidence of his intent to obstruct the certification of the election. None of the proffered evidence

is probative of Mr. Fitzsimons’s intent. The December 2020 phone calls evince Mr. Fitzsimons’s


                                                 5
          Case 1:21-cr-00158-RC Document 62 Filed 03/21/22 Page 7 of 12




attempt to lawfully lobby his congressional representatives and say nothing about his own intent

on January 6, 2021. Mr. Fitzsimons truly believed what he was told by President Trump and

major news outlets: that the election was fraudulent and stolen. Believing this, Mr. Fitzsimons

called his congressional representatives and tried to convince them to do their job as elected

officials. A congressperson, pursuant to 3 U.S.C. § 15, may object to a state’s election results.

Knowing this, Mr. Fitzsimons called his congressional representatives to encourage them to

object to the certification.

        In the December 15, 2020 call to a Congresswoman, Mr. Fitzsimons told the

Congresswoman to “do your job.” In the December 18, 2020 call, Mr. Fitzsimons told the same

Congresswoman that the electoral college vote “is corrupt” and “total garbage,” and once again

urged the Congresswoman to dispute the election results on January 6. On December 20, 2020,

Mr. Fitzsimons called a Congressman and asked for the Congressman’s courage to dispute the

election on January 6. Finally, on December 21, 2020, Mr. Fitzsimons told a Congresswoman’s

staff member that President Biden “is owned by Chinese communists” and “they put him into

office by election fraud.” The calls urge his congressional representatives to object to the

certification of the election through lawful means and say nothing about Mr. Fitzsimons’s intent

on January 6, 2021. It is far too speculative to infer that because Mr. Fitzsimons wanted his

congresspeople to lawfully advocate for a certain political position, that Mr. Fitzsimons would

resort to unlawful means to get his way.

        Even though Mr. Fitzsimons’s calls urge lawful action, his beliefs will be seen as extreme

and unpopular. The calls say nothing about his intent of January 6, 2021, but will impugn Mr.

Fitzsimons’s character and portray him as a political extremist. Jurors will be unable to resist the

impulse to convict Mr. Fitzsimons based on his character. Michelson v. United States, 335 U.S.



                                                 6
            Case 1:21-cr-00158-RC Document 62 Filed 03/21/22 Page 8 of 12




469, 475–76 (1948) (“it is said to weigh too much with the jury and to so overpersuade them as

to prejudge one with a bad general record and deny him a fair opportunity to defend against a

particular charge.” Since propensity evidence may not be used to “prov[e] that a person's actions

conformed to his character,” United States v. Crowder, 141 F.3d 1202, 1206 (D.C. Cir. 1998) (en

banc), this evidence must be precluded.

       With regard to the December 24, 2020 Facebook post, Mr. Fitzsimons did not even make

the post. The post was made by an unknown person with an unknown relationship with Mr.

Fitzsimons. There is no indicia of reliability, as the post purports to relay a message from Mr.

Fitzsimons through a third-party. Even taking the post at face-value, it says nothing about Mr.

Fitzsimons’s intent to obstruct the certification of the election or engage in any act of violence on

January 6th . The post is merely acknowledging that supporters of then President Trump were

allegedly living in and around the area; and offering to provide transportation or share ride to

Washington, D.C. to for the electoral college count which was rumored to be contested by

several states. There is no indication that violence would take place or that any act contrary to

law would occur.

       Finally, the December 19, 2019 phone call to a congresswoman discussing President

Trump’s impeachment trial and the March 19, 2020 phone call during which Mr. Fitzsimons

seeks the phone number for Chinese President Xi Jinping are not at all probative of Mr.

Fitzsimons’s intent or actions on January 6, 2021. These phone calls are an attempt to attack Mr.

Fitzsimons’ character and paint him as a dangerous extremist. The phone calls are entirely

unrelated to the election and the protests on January 6, 2021 and must not be admitted pursuant

to Rule 404(b).

       C.      The Evidence Fails Rule 403’s Prejudice-Probity Balancing Test



                                                 7
            Case 1:21-cr-00158-RC Document 62 Filed 03/21/22 Page 9 of 12




          Even assuming, arguendo, that the proffered evidence is admissible for a non-character

purpose, the evidence must be excluded under the second factor of the 404(b) analysis. Under the

second factor, evidence will be excluded if it is inadmissible under any other “general strictures

limiting admissibility.” Miller, 895 F.2d at 1435. Even if offered for a proper purpose, the

government’s proffered evidence cannot withstand scrutiny under Rule 403. At the Rule 403

balancing stage, the Court must “assess the probative value of the evidence as compared to the

risk of unfair prejudice.” United States v. Hitselberger, 991 F. Supp. 2d 108, 127 (D.D.C. 2014)

(quoting United States v. Larrahondo, 885 F. Supp. 2d 209, 227 (D.D.C. 2012)).

          Rule 403 permits the exclusion of relevant evidence “if its probative value is substantially

outweighed by a danger of one or more of the following: unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”

FED. R. EVID. 403. The Supreme Court has explained that “what counts as the Rule 403

‘probative value’ of an item of evidence, as distinct from its Rule 401 ‘relevance,’ may be

calculated by comparing evidentiary alternatives.” Old Chief v. United States, 519 U.S. 172, 184

(1997).

          Even without this proffered evidence, this trial promises to be highly charged and

inescapably political. As detailed in Mr. Fitzsimons’ Motion to Transfer Venue, it is nearly

impossible for Mr. Fitzsimons to receive a fair trial by an impartial jury that comports with the

Fifth and Sixth Amendments. See ECF No. 47. Mr. Fitzsimons has already been vilified in the

media as a “racist conspiracy theorist,” a “racist xenophobe,” and “a freaking dangerous lunatic.”

The D.C. public is poisoned against the January 6 rally participants. The city has gone through

unprecedented closures, a military takeover, and a state of emergency. The blame for the

disruption to daily life is laid upon the “ideologically-motivated violent extremists with



                                                   8
         Case 1:21-cr-00158-RC Document 62 Filed 03/21/22 Page 10 of 12




objections to the exercise of governmental authority and the presidential transition.” National

Terrorism Advisory System Bulletin, Department of Homeland Security (Jan. 27, 2021, 11:00

AM) https://www.dhs.gov/sites/default/files/ntas/alerts/21_0127_ntas-bulletin.pdf. The proffered

evidence will lump Mr. Fitzsimons in with this group of political extremists.

       This evidence carries a grave risk that the jury’s passions will be inflamed by the Rule

404(b) evidence to such an extent it would convict him based on his character rather than the

strength and quality of the evidence of the charged crime. The jury will be unable to

compartmentalize this evidence for proper evidentiary purposes and set aside their ensuing biases

to reach a fair verdict. The calls show that Mr. Fitzsimons is very passionate about his political

beliefs. He called the election “corrupt” and “total garbage.” He referred to President Biden as

“owned by Chinese communists” and “a corrupt skeleton.” While none of this information says

anything about Mr. Fitzsimons’s intent on January 6, a jury will be unable to view Mr.

Fitzsimons as anything but a political fanatic. Simply put, the government’s proffered evidence

will take the effect of being a character smear and will leave the jury with the impression that

Mr. Fitzsimons is a dangerous political extremist and guilty of the charged conduct without a fair

examination of his actions on January 6th . This is wholly improper given the nature of this case

and that the evidence is completely unnecessary to prove the government’s case.

       Absent the supercharged politicization of this case, the questions of fact are relatively

straightforward: Mr. Fitzsimons is seen on video pushing and grabbing against officers who were

holding a police line in an arched entranceway on the lower west terrace of the Capitol Building.

These calls and the Facebook post are simply not necessary for the government to prove motive

or intent. Furthermore, as noted above, this case it not complicated, yet the government’s

proffered Rule 404(b) is fairly voluminous in comparison to the direct evidence of his alleged



                                                 9
         Case 1:21-cr-00158-RC Document 62 Filed 03/21/22 Page 11 of 12




guilt. Presentation of the other bad acts evidence would result in potentially multiple mini-trials

and will also risk further confusing the issues presented to the jury. Complicating and further

politicizing this trial with uncharged bad acts will undoubtedly confuse the jury as to what

elements need to be proven in connection with the charged crimes and which evidence was

offered for which purpose, heightening the risk of unfair prejudice.

       For these reasons, the government’s proffered bad acts evidence must be excluded in its

entirety under Rule 403’s prejudice-probity balancing test.

III.   CONCLUSION

       The government’s attempt to overcomplicate this trial with evidence impugning Mr.

Fitzsimons’s character and further igniting political fervor should not be countenanced by this

Court. The proffered evidence fails to withstand scrutiny under Federal Rules of Evidence 404(b)

and 403. For these reasons, as well as those set forth above, Mr. Fitzsimons respectfully requests

that the Court deny the government’s Motion in limine in its entirety.

                                              Respectfully submitted,



                                              /s/ Natasha Taylor-Smith______
                                              NATASHA TAYLOR-SMITH
                                              Assistant Federal Defender




                                                 10
         Case 1:21-cr-00158-RC Document 62 Filed 03/21/22 Page 12 of 12




                                 CERTIFICATE OF SERVICE

        I, Natasha Taylor-Smith, Assistant Federal Defender, Federal Community Defender

Office for the Eastern District of Pennsylvania, hereby certify that I caused a copy of the

foregoing Response to the government’s Motion in limine to Admit Evidence Under Federal

Rule of Evidence 404(b) to be served by Electronic Case Filing (“ECF”) upon Brandon Regan

and Puja Bhatia, Assistant United States Attorneys, United States Attorney’s Office, 555 4th St.,

NW, Washington, DC 20530.




                                              /s/ Natasha Taylor-Smith_______
                                              NATASHA TAYLOR-SMITH
                                              Assistant Federal Defender




DATE:          March 21, 2022
